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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                         SETTLEMENT CONFERENCE MINUTES


Jared Goyette, et al.,                                     COURT MINUTES
                                                      BEFORE: David T. Schultz
       Plaintiffs,                                   United States Magistrate Judge

v.                                               Case No.      20-cv-1302 (SRN/DTS)
                                                 Date:         12/10/21 – 12/14/21
John Harrington, Matthew Langer,                 Location:     zoom
and Joseph Dwyer,

       Defendants.                               Total Time:      18 hrs.


APPEARANCES:

       For Plaintiffs:   Dulce Foster, Kevin Riach, Teresa Nelson, Isabella Nascimento

       For Defendants:      Joseph Weiner




PROCEEDINGS:

        X      No settlement reached.

               Binding settlement reached. Terms stated on the record. Any transcript or
               copy of the audio file of the terms of settlement is CONFIDENTIAL and shall
               be SEALED, with access being allowed only to the parties and their counsel.
               (Audio: T:/zoom)


Date: December 14, 2021                          s/Terianne
                                                 Courtroom Deputy
